                     Case 6:06-cr-00026-JRH-CLR Document 1586 Filed 05/28/15 Page 1 of 1
AO2.t?O0/ll)     Ainended Order RegardrnsMotion for SentenccReducl,onPursMnl to l8 Us C $ 3582(cX2)                        PaEe I of 2   2 Not for PublicDisclosuie)


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                                                             UNITED STATESDISTRICTCOLIRT                                          AUfir,,S
                                                                        for the
                                                                  SouthemDistrict of Georgia
                                                                                                                          l0f5ilAY28
                                                                     StatesboroDivision
                         United Statesof America                                    )
                                   v.                                               )
                                           "                                        ) CaseNo: 6:06CR00026-4
                                 charlesw lulls
                                                                                    ) USMNo: 62406-061
Date of Original Judgrnent:        October 22. 2009                                 ) LanceJ. Hamilton
Date ofPrevious Amended Judgment: May 22,2015                                                   Attorney
                                                                                    ) Defendant's
(llse Dqte oJLast AmendedJudgment if Any)

                AmendedOrder RegardingMotion for SentenceReductionPursuantto 18 U.S.C.$ 3582(cX2)
                                                           for ArithmeticalError (Fed.R.Crim.P.
               Reasonfor Amendment:[X] Correctionof Sentence                                 35(a))

               Uponmotionof          lXlth" d"f.ndunt !the              Directorof theBureauof Prison,           Ithe     courtunderl8 U.S.C.
                                                                                                  range that has subsequentlybeen
$ 3582(c)(2) for a reduction in rhe telm of imprisonmentimposedbasedon a guideline sentencing
lowered and maderetroactiveby the United StatesSentencing     Commission    pursuant to 28 U.S C.
S 994(u), and having consideredsuch motion, and taking into accountthe policy statemenlset forth at USSG $ I B l.l0 and the
sentencingfactors set forth in l8 U.S.C. $ 3553(a),to the extentthat they are applicable,

l T l S O R D E R E D t h a tt h em o t i o ni s .
                                                                                              rcllected
                                                                                                      n thelastiuLlsmenl
 flOenteO.        lxl G RANTED and the defendant'spreviously imposedsentenceof imprisonment/as
                         iswed of 5                months is reduced to      l2l months


                                                   (CompletePqrts I qnd Il of Page 2 when motion is gronted)




Except as othenviseprovided above, all provisions ofthe judgment dated
IT IS SO ORDERED.

OrderDate:                s /asls
                                                                                        Dudley H. Bowen,Jr.
E f f e c t i v eD a t e : N o re m b e r1 . 2 0 1 5                                    UnitedStatesDistrictJudqe
                            ftfdiferent from arderdate)                                                  P, irt d no*" *rJ-iif,--
                                                                                                               "
